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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                           Case No. 23-cr-157 (SRN/TNL)

                      Plaintiff,

 v.                                                             ORDER

 John Eric Solomon,

                      Defendant.


      This matter comes before the Court on Defendant John Eric Solomon’s “Motion to

File Out of Time His Motion for Additional Time to File Pretrial Motions; and Motion for

Additional Time to File Pretrial Motions.” ECF No. 23. Defendant also filed a Statement

of Facts pursuant to 18 U.S.C. § 3161(h)(7)(A) (“Statement of Facts”). ECF No. 25.

      Defendant’s motions were due on May 30, 2023. See ECF No. 19 at 2. On June 5,

2023, Defendant filed the instant motion requesting that the deadline to file motions be

extended to June 13, 2023. ECF No. 23. First, Defendant notes that his counsel was

unavailable the last week of May and was unable to file motions. Id. at 1. Additionally,

Defendant contends that a substantial amount of Government disclosures were not

produced until May 31, 2023. Id. According to Defendant, an extension of the deadline

to file motions “advances the interests of justice by providing additional time for a more

meaningful analysis of the discovery in advance of motions.” Id. at 1-2. The Government

has no objection to Defendant’s request. Id. at 1. In his Statement of Facts, Defendant




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requests that this period of time be excluded from computation under the Speedy Trial Act.

ECF No. 25 at 1-2.

       Pursuant to 18 U.S.C. § 3161(h), this Court finds that the ends of justice served by

granting a continuance outweigh the best interests of the public and Defendant in a speedy

trial, and such continuance is necessary to provide Defendant and his counsel reasonable

time necessary for effective preparation and to make efficient use of the parties’ resources.

       Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED that:

       1.     Defendant’s Motion to File Out of Time His Motion for Additional Time to

File Pretrial Motions and Motion for Additional Time to File Pretrial Motions, ECF No.

23, is GRANTED.

       2.     The period of time from the date of this Order through June 13, 2023,

shall be excluded from Speedy Trial Act computations in this case.

       3.     All motions in the above-entitled case shall be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before June 13, 2023. D.

Minn. LR 12.1(c)(1). Two courtesy copies of all motions and responses shall be delivered

directly to the chambers of Magistrate Judge Tony N. Leung.

       4.     Counsel shall electronically file a letter on or before June 13, 2023, if no

motions will be filed and there is no need for a hearing.

       5.     All responses to motions shall be filed by June 27, 2023. D. Minn. LR

12.1(c)(2).

       6.     Any Notice of Intent to Call Witnesses shall be filed by June 27, 2023. D.

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Minn. LR 12.1(c)(3)(A).

      7.     Any Responsive Notice of Intent to Call Witnesses shall be filed by June 30,

2023. D. Minn. LR 12.1(c)(3)(B).

      8.     A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

             a.     The Government makes timely disclosures and a defendant pleads
                    particularized matters for which an evidentiary hearing is necessary;
                    or

             b.     Oral argument is requested by either party in its motion, objection or
                    response pleadings.

      9.     If required and subject to further order of the Court, the motions hearing shall

be heard before Magistrate Judge Tony N. Leung on July 12, 2023, at 9:00 a.m., in

Courtroom 9W, Diana E. Murphy U.S. Courthouse, 300 South Fourth Street,

MINNEAPOLIS, Minnesota 55415. D. Minn. LR 12.1(d).

      10.    TRIAL:

             a.     IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT:

the following trial and trial-related dates are:

             All voir dire questions and jury instructions and trial related motions

(including motions in limine) must be submitted to District Judge Susan Richard Nelson

on or before August 21, 2023.

             This case must commence trial on August 28, 2023, at 9:00 a.m. before

District Judge Susan Richard Nelson in Courtroom 7B, Warren E. Burger Federal Building

and U.S. Courthouse, 316 North Robert Street, SAINT PAUL, Minnesota.


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              b.   IF PRETRIAL MOTIONS ARE FILED, the trial date, and other

related dates, will be rescheduled following the ruling on pretrial motions. Counsel

must contact the Courtroom Deputy for District Judge Nelson to confirm the new

trial date.



Dated: June    8   , 2023                           s/Tony N. Leung
                                             Tony N. Leung
                                             United States Magistrate Judge
                                             District of Minnesota


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